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7                             UNITED STATES DISTRICT COURT

8                         EASTERN DISTRICT OF CALIFORNIA

9

10    UNITED STATES OF AMERICA,             No.   2:96-cr-00190-JAM-2
11               Plaintiff,
12          v.                              ORDER GRANTING DEFENDANT’S
                                            MOTION TO REDUCE SENTENCE
13    TROY DONAHUE BARRON,
14               Defendant.
15

16          Defendant filed a Motion to Reduce Sentence pursuant to the

17   First Step Act § 404.        See Mot. to Reduce Sent. (“Mot.”), ECF No.

18   404.   The Government does not oppose.       Good cause having been

19   shown, see Mot. at 4-10, the Court GRANTS Defendant’s motion and

20   imposes a sentence of time served.        Upon release, Defendant shall

21   begin serving a 144-month term of supervised release, with all

22   other terms of the judgment remaining unchanged.

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24   Dated:      September 2, 2020

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